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                                  JUDGE DAVID BRIONES

                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION

                                                      §
ERIK SALAIZ,                                          §
                                                      §
                               Plaintiff,             §
                                                      §
                v.                                    §
                                                      §
AMERICA'S LIFT CHAIRS, LLC a Georgia                  §
Limited Liability Company and JASON JUE               §
                                                      §
                                                      §
                               Defendants.            §
                                                      §




                           PLAINTIFF'S ORIGINAL COMPLAINT

                                             PARTIES
   1.   Plaintiff ERIK SALAIZ ("Plaintiff') is a natural person and is a citizen of the Western

        District of Texas and was present in the Western District of Texas during all calls at issue

        in this case.

  2. Defendant AMERICA'S LIFT CHAIRS, LLC ("ALC") is a Limited Liability Company

        organized and existing under the laws of Georgia and can be served via registered agent

        Jason Jue at 2 Village Walk, Suite 204 Savannah, GA 31411.

  3. Defendant JASON JUE ("Jue") is a natural person, resident of Georgia, and Chief

        Executive Officer of America's Lift Chairs, LLC and can be served at 2 Village Walk,

        Suite 204 Savannah, GA 31411.

  4. Defendant ALC and JUE (together "Defendants")


                                        NATURE OF ACTION


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5. Plaintiff brings this Complaint and Demand for Jury Trial against Defendants to stop

     placing illegal robo and unauthorized calls to Plaintiffs personal cell phone and to obtain

     redress as authorized by statute.

6. Defendants offer lift chairs to consumers. As part    of marketing their services, Defendant

     ALC and their agents placed illegal robocalls to Plaintiffs cell phone that using an

     artificial or prerecorded voice advertisement.

7.   Defendant ALC make unsolicited and unauthorized phone calls to thousands of

     consumers using artificial or prerecorded voice messages to sell their lift chair.

8.   Defendants did not obtain express written consent from Plaintiff prior to calling his cell

     phone, and Defendants are therefore liable under the Telephone Consumer Protection Act

     47 U.S.C.   §   227 (the "TCPA") and its implementing regulation, 47 C.F.R.       §


     64.1 200(a)(2).

9. Congress enacted the TCPA in 1991 to restrict the use      of sophisticated telemarketing

     equipment that could target millions of consumers en    masse.      Congress found that these

     calls were not only a nuisance and an invasion of privacy to consumers specifically but

     were also a threat to interstate commerce generally.   See   S.   Rep. No. 102-178, at 2-3

     (1991), as reprinted in 1991 U.S.C.C.A.N. 1968,1969-71.

10. The TCPA targets unauthorized calls exactly like the ones alleged in this case, based on

     Defendant ALC's use of technological equipment to spam consumers on a grand scale

     without their consent.

11. By placing the calls at issue, Defendants have violated the statutory rights and privacy      of

     Plaintiff and caused him to suffer damages that are recognized by statute.




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12. Plaintiff therefore seeks an injunction requiring Defendants to stop calling his personal

   cell phone, as well as an award of actual and statutory damages, civil penalties, costs and

   reasonable attorneys' fees.


                                JURISDICTION AND VENUE

13. This Court has federal subject matter jurisdiction under 28 U.S.C. § 1331, as this case

   arises under the Telephone Consumer Protection Act, 47 U.S.C.      §   227, which is a federal

   statute.

14. This Court has supplemental subject matter jurisdiction over Plaintiff's claim arising

   under Texas Business and Commerce Code 305.053 because that claim arises from the

   same nucleus of operative fact, i.e., Defendants telemarketing robocalls to Plaintiff; adds

   little complexity to the case; and doesn't seek money damages, so it is unlikely to

   predominate over the TCPA claims.

15. This Court has personal jurisdiction over Defendants because they conduct business in

   this District and in the State of Texas and because the events giving rise to this lawsuit

   occurred in this District.

16. Venue is proper in this District pursuant to 28 U.S.C. §1391(b) because Defendants

   regularly conducts business in the state of Texas and in this District, and because the

   wrongful conduct giving rise to this case occurred in this District.

                                 FACTUAL ALLEGATIONS

17. Plaintiff's personal cell phone (915) 252-9280 is on the National-Do-Not-Call-Registry.

18. Defendants offer Lift Chair products to consumers.

19. Defendant Jue controls and dominates ALC.
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20. Defendant Jue approves of the contracts with the telemarketers who make illegal

   robocalls with artificial or prerecorded voice messages to thousands of consumers

   cellular and residential phone numbers.

21. Defendant Jue authorizes the payments to the telemarketers.

22. Defendant Jue pays the telemarketers out of bank accounts he owns and controls.

23. Defendant Jue provides instruction and guidance on who to solicit and the minimum

   qualifications of potential clients.

24. Defendant TRA has been sued before for TCPA violations (case # 4:2021cv00245) and

   (case #   1:202 1cv06808)   Defendant Jue continues to knowingly and willfully authorize

   telemarketers to place illegal robocalls (like the calls alleged in this complaint) to

   thousands of consumers en mass using an artificial or pre-recorded voice message.

25. Defendant Jue has full control over ALC and has the authority to stop the illegal

   robocalls however has refused to do so because it benefits defendants financially.

26. Defendant Jue approves of the scripts when calling consumers (like the ones alleged in

   this complaint) that start with an artificial or prerecorded voice message that says " Hi

   this is Kristen I'm with senior aid helper and the reason for the call is urn were reaching

   out to people who recently used one of our partners medical or hearing aid devices or

   other quality life related products just to let them know about the promotion we're

   running. So the good news is one of our partners a leading lift chair company in America

   is running a 14 day risk free trial so just imagine a lazy boy chair but much better um the

   chair gives you a complete body massage from head to toe it also provides heat to the

   entire body urn also the chair lifts you up in a standing position with a simple push of a

   button and you get to try the chair risk free for 14 days and there's nothing to lose



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   because we deliver and setup the chair urn and if you don't like it for any reason we send

   someone to pick it up and take it back for free sounds great right? Now the chair can

   recline to many different positions um one position that is very beneficial is the sleeping

   position you can lay completely flat like your laying in a bed for a relaxing comfortable

   night sleep urn there's also a tv position to watch all your favorite tv shows which is my

   personal favorite and the lift position to help safely get you out of the chair and as I

   mentioned before the sleep position is to help you get a good night's rest or even an

   afternoon nap now because of your illness you have to take every step possible to make

   sure your are not getting worse urn and our chair can help sooth the way any aches and

   pains and also help you get a good night's rest now remember the chair also lifts you into

   a standing position which is going to be a huge help for eliminating pressure off your

   joints urn and if you don't like the chair for any reason and if it just doesn't make you

   feel good we're going to come pick it up and take it back free of charge okay? Great, now

   what I'm going to do now is bring one of our supervisors on the line to go over the rest of

   the details and let you know how to take advantage of the 14 day risk free trial okay urn

   and I'll stay on the line to make sure that your connected so please just hold on."

27. Each and every call Defendants made to Plaintiff's personal cell phone (915) 252-9280

   all started with the sarne artificial or prerecorded voice message when Plaintiff answered.

28. Plaintiff is aware   of four unauthorized phone calls made within 30 days to his personal

   cell phone (915) 252-9280 from Defendants. With infonnation and belief there was more

   unauthorized phone calls made to Plaintiffs personal cell phone from Defendants that are

   unknown at this time but will be revealed during discovery.
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29. On December 29, 2021, Plaintiff received an unauthorized phone call made to his

   personal cell phone (915) 252-9280 from Defendants from phone number (980) 982-

   8881.

30. Plaintiff answered the call and heard an artificial or prerecorded voice message that said

   "Hi this is Kristen I'm with senior aid helper and the reason for the call is urn were

   reaching out to people who recently used one of our partners medical or hearing aid

   devices or other quality life related products just to let them know about the promotion

   we're running. So the good news is one of our partners a leading lift chair company in

   Arnerica is running a 14 day risk free trial so just imagine a lazy boy chair but much

   better urn the chair gives you a complete body massage from head to toe."

31. Plaintiff was annoyed and aggravated for continuing to receive the same call three times

   prior to this occasion and followed the prompts to speak to a live representative for the

   sole purposes of identifying the company responsible for the illegal robocalls.

32. Plaintiff was then transferred to a live representative named Ashley that stated she was

   with America's Lift Chair. She then stated "I want to say thank you Mr. Erik and

   congratulations on your risk-free lift chair trial."

33. Ashley went over the benefits and features       of the lift chair and then solicited Plaintiff for

   Defendants product.

34. Plaintiff asked Ashley where their company was based out of and Ashley stated their

    company is located in Savannah, GA and their website is

    https://www.americasliftchair.com which provided Plaintiff the information to the

    company responsible for the illegal robocalls.

35. Table A displays the calls made by the defendants



                                               I.1
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   I
       Date                 lilme                    ICalleriD
       12/4/2021             2:35pm                  443-952-4507
       12/6/2021             4:56pm                  760-300-1768
       12/22/2021            12:30pm                 432-200-0603
       12/29/2021            11:22am                 980-982-8881

36. Defendants employ outrageous, aggressive, and illegal sales techniques that violate

   multiple federal laws and state consumer statutes.


37. Defendants do not have a solicitation registration certificate on file with the Texas

       Secretary of State as required to make telephone solicitations to Texas residents. Plaintiff

   is a Texas resident.

38. On information and belief, the Defendants did not have a written do-not-call policy while

       it was sending Mr. Salaiz the unsolicited calls.

39. The Defendants never sent Mr. Salaiz any do-not-call policy. Plaintiff sent an internal

       do-not-call policy request to info aamericaslifichair.corn.

40. On information and belief, the Defendants did not train its agents who engaged in

       telemarketing on the existence and use of any do-not-call list.

41. Defendant Jue participated in, facilitated, directed, authorized, knew of or willfully

       ignored the false and misleading sales practices and unlawful robocalling, while knowing

       facts that required a reasonable person to Investigate further, and approved, and ratified

       the conduct of their employees, agents, and co-conspirators to engage in the false and

       misleading sales practices and unlawful robocalling.

42. Defendants have knowledge of and have adopted and maintained TCPA violations as a

       sales strategy. This is amply supported by the complaints Defendants receive that are

       available from the Better Business Bureau ("BBB"). The full scale of the complaints



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   Defendants receive is not currently available to Plaintiff but will be revealed through

   discovery to amplify what is shown below.

43. Defendants refuse to take any action to stop or curtail the unlawful sales practices and

   robocalling because these practices benefit Defendants financially.

44. Plaintiff never consented to receive the calls alleged herein. Plaintiff had no relationship

    with Defendants prior to the calls alleged herein.

                    DEFENDANT JUE IS PERSONALLY LIABLE

45. Defendant Jue refuses to take any action to stop or curtail the unlawful sales practices and

    robocalling because these practices benefit Defendant Jue.

46. "If the officer directly participated in or authorized the statutory violation, even though

    acting on behalf of the corporation, he may be personally liable. See United States v

    Pollution Serv. Of Oswego, Inc., 763 F.2d 133, 134-135     (211(1   Cir.1985)

47. The "well-settled" tort rule provides that "when corporate officers directly participate in

    or authorized the commission of a wrongful act, even if the act is done on behalf of the

    corporation, they may be personally liable." General Motos Acceptance Corp.        v.   Bates,

    954 F.2d 1081, 1085 (5th Cir. 1992). The Fifth Circuit has elaborated that "the thrust of

    the general [tort] rule is that the officer to be held personally liable must have some

    direct, personal participation in the tort, as where the defendant was the 'guiding spirit'

    behind the wrongful conduct. . .or the 'central figure' in the challenged corporate
                                                                (5th Cirt. 1985) (Citing
    activity." Mozingo v. Correct Mfg. Corp., 752 F.2d 168, 174
                                                                  (ist
    Escude Cruz v. Ortho Pharmaceutical Corp., 619 F. 2d 902, 907      Cir.1980)) (Citing

    Texas v. American Blastfax, Inc., 164 F. Supp. 2d 892 (W.D. Tex. 2001)

48. Quoting Texas v. American Blastfax:
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       The Court finds the above principles applicable to the TCPA that is, an officer may be
       personally liable under the TCPA if he had direct, personal participation in or
       personally authorized the conduct found to have violated the statute, and was not
       merely tangentially involved. Individuals who directly (and here, knowingly and
       willfully) violate the TCPA should not escape liability solely because they are
       corporate officers. As the State persuasive argues, to hold otherwise would allow the
       individual defendants to simply dissolve Blastfax, set-up a new shell corporation, and
       repeat their conduct. Congress surely did not intend to permit such a result in passing
       the TCPA.


       To be clear, the Court finds Greg and Michael Home were the "guiding spirits" an the
       "central figures" behind the TCPA violations. They were the two persons who
       controlled all of Blastfax's day-to-day operations. They both had direct, personal
       involvement in and ultimate control over every aspect of Blastfax's wrongful contact
       that violate the TCPA, and/or directly controlled and authorized this conduct. And
       they did so with their eyes and pocketbooks wide open. After October 5, 2000, Greg
       and Michael Home had good reason to believe they were running a business that
       violated the TCPA. On February 9, 2001, they knew they were. Yet they continued
       to direct their company to send unsolicited intrastate fax advertisements. This is fare
       more than a simple derivative liability case. Accordingly, the Court *899 holds
       defendants Greg and Michael Home are jointly and severally liable with Defendant
       Blastfax, Inc., for all TCPA damages in this lawsuit." Texas v. American Blastfax,
       Inc., 164 F. Supp. 2d 892 (W.D. Tex. 2001)

49. The Same Court held that corporate officers were also personally liable for DTPA
   violations

       The State contends Greg and Michael Home are personally liable for any DTPA
       damages because they were solely responsible for the violating conduct ..... For the
       same reasons discussed in finding the individual defendants personally liable under
       the TCPA, the Court agrees. See, e.g., Barclay v. Johnson, 686 S.W.2d 334, 336-37
       (Tex. Civ. App.-Houston
                                   [1ST
                                        Dist.] 1985, no writ) (finding personal liability for
       corporate officer in DTPA misrepresentation claim, based on general rule that "a
       corporate agent knowingly participating in a tortious of fraudulent act may be held
       individually liable, even though he performed the act as an agent for the
       corporation ...... Accordingly, the Court finds defendants American Blastfax, Inc.,
       Greg Home and Michael Home are jointly and severally liable for $6,000 in damages
       for their violations of the DTPA." Texas v. American Blastfax, Inc., 164 F. Supp. 2d
       892 (W.D. Tex. 2001

50. At all times material to the Complaint, acting alone or in concert with others, Defendant

    Jue has formulated, directed, controlled, had the authority to control, or participated in
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   the acts and practices of Defendant ALC including the acts or practices set forth in this

   Complaint.

51. Defendant Jue is the principal director and operator   of Defendant ALC and controls the

   day-to-day operations of ALC and directed their employees, agents, salespersons, and

   solicitors to make TCPA violating phone calls and to solicit their lift chair product.

52. Defendant Jue approved the telemarketing scripts, signed the contracts, paid commissions

   for the illegal behavior, and directed the illegal calls to be made for his financial benefit.

53. Defendant Jue knowingly and willfully ignores the law. He continues to solicit

   Defendants ALC's lift chair product via robocalls with artificial or prerecorded voice

   messages. These violations are the direct result of the instructions Defendant Jue has

   given to his agents, employees, solicitors, salespersons, and others that carry out his

   schemes.

54. Defendant Jue is not merely a bystander. His is the mastermind that schemed, planned,

   directed, initiated and controlled the illegal and fraudulent behavior.

55. Defendant Jue is well aware his conduct violated the TCPA and Tex. DPTA and refused

   to alter their behavior. Defendant Jue is the sole director of ALC and the only person

   with the power to make the unlawful, fraudulent, and unethical behavior stop. Yet,

   Defendant Jue has taken no steps to stop the behavior because the behavior benefits

   Defendants financially. Defendant Jue breaks the law with his eyes and pocketbooks

   wide open.

56. Defendants should be held jointly and severally liable for both the TCPA violations and

   Tex. Bus. Com. Code 302.101 via the Tex. DTPA because they actually committed the




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   conduct that violated the TCPA and Tex. DTPA, and/or they actively oversaw and

   directed this conduct.

57. Defendant Jue should be held liable because to do otherwise would simply allow him to

   simply dissolve ALC and set up a new corporation and repeat their conduct. This would

   result in both the TCPA and DTPA being unenforceable.


                   The Plaintiff's cell phone is a residential number

58. The calls were to the Plaintiff's cellular phone 9280 which is the Plaintiff's personal cell

   phone that he uses for personal, family, and household use. The Plaintiff maintains no

   landline phones at his residence and has not done so for at least 15 years and primarily

   relies on cellular phones to conmiunicate with friends and family. The Plaintiff also uses

   his cell phone for navigation purposes, sending and receiving emails, timing food when

   cooking, and sending and receiving text messages. The Plaintiff further has his cell phone

   registered in his personal name, pays the cell phone from his personal accounts, and the

   phone is not primarily used for any business purpose.




                     The Texas Business and Commerce Code 305.053

59. The Texas Business and Commerce code has an analogous portion that is related to the

    TCPA and was violated in this case.

60. The Plaintiff may seek damages under this Texas law for violations of 47 USC 227 or

    subchapter A and seek $500 in statutory damages or $1500 for willful or knowing

    damages.



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             Violations of the Texas Business and Commerce Code § 302.101

61. The actions of the defendants violated the Texas Business and Commerce Code 302.101

   by placing solicitation phone calls to a Texas resident without having registration

   certificate and bond on file with the Texas Secretary of State.

62. Texas Business and Commerce Code § 302.101 provides a private right of action. A

   violation of Chapter 302 "is a false, misleading, or deceptive act or practice under

   Subchapter E, Chapter 17" and is enforceable as such: "A public or private right or

   remedy prescribed by Subchapter E, Chapter 17, may be used to enforce [Chapter 302."

   Tex. Bus. & Com. Code § 302.303.

63. The use or employment by any person of a false, misleading, or deceptive act or practice"

   causes "economic damages or damages for mental anguish." Tex. Bus. & Corn. Code            §


    17.50.

64. Texas Business and Commerce Code §302.10 1 states that a person (1) "may not make a

   telephone solicitation" (a) "from a location in [Texas]" or (b) "to a purchaser located in

    [Texas]," (2) "unless the [person] holds a registration certificate for the business location

    from which the telephone solicitation is made." Tex. Bus. & Corn. Code § 302.101(a).

65. Under Texas Business and Commerce Code § 302.302 Plaintiff is entitled to seek

    damages of up to $5000 per violation of §302.101.

                   INJURY, HARM, DAMAGES, and ACTUAL DAMAGES

                                AS A RESULT OF THE CALLS

66. Plaintiff has been annoyed, harassed, and irritated by robocalls placed by the Defendants

    and other similar companies.

67. Plaintiff has been denied the use of his phone, enjoyment of his phone, and had the



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   functionality of his phone decreased because of unnecessary charging, erosion of phone

   memory, and had his privacy invaded by the harassing robocalls.



                                   FIRST CAUSE OF ACTION

                       Willful and/or Knowing Violation of 47 U.S.C. § 227
                           Telephone Consumer Protection Act of 1991
                                     (Against all Defendants)

68. Plaintiff incorporates the foregoing allegations as    if fully set forth herein.

69. Defendants and/or their agents placed calls to Plaintiff's cellular telephone.

70. Plaintiff never consented to receive calls from Defendants. Plaintiff has no relationship

    with Defendants.

71. Defendants' calls were made for purposes    of advertising and marketing Defendants' lift

    chair product. These calls constituted commercial advertising and telemarketing as

    contemplated by the TCPA.

72. The calls were made using an artificial or prerecorded voice message to the cellular

    phone of Plaintiff in violation of 47 U.S.C.   §   227(b)(l)(A)(iii) and (B).

73. As a result   of their unlawful conduct, Defendants repeatedly invaded the personal privacy

    of Plaintiffs, causing Plaintiff to suffer damages and, under 47 U.S.C. § 227(b)(3)(B),

    entitling Plaintiff to recover $500 in statutory damages for each violation and an

    injunction requiring Defendants to stop their unlawful calling campaigns.

74. Not only did Defendants make these violating calls, Defendants and/or their agents did so

    "knowingly" and/or "willfully' under 47 U.S.C. § 227 (b)(3)(C).




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    75.   If the Court finds that Defendants willfully or knowingly violated this subsection, the
          Court may exercise its discretion to increase the amount of the award from $500 to $1500

          per violation under 47 U.S.C.         §   227(b)(3)(C).

                                    SECOND CAUSE OF ACTION
                 Telemarketing Without Mandated Safeguards, 47 C.F.R. § 64.1200(d)
                                     (Against All Defendants)


    76. Plaintiff incorporates the forgoing allegations as if fully set forth herein.

    77. The foregoing acts and omissions of Defendants and/or their affiliates or agents

          constitute multiple violations of FCC regulations by making telemarketing solicitations

          despite lacking:

                a.    written policy, available upon demand, for maintaining a do-not-call list, in

                      violation of 47 C.F.R.    §   64.1200(d)(1) 1;

                b. training for the individuals involved in the telemarketing on the existence of and

                      use of a do-not-call list, in violation of 47 C.F.R.   §   64.1200(d)(2) 2; and,

                 c.   in the solicitations, the name of the individual caller and the name of the person or

                      entity on whose behalf the call is being made, in violation of 47 C.F.R.       §


                      64. 1200(d)(4).3

    78. Plaintiff is entitled to an award           of at least $500 in damages for each such violation. 47

          U.S.C.      §   227(c)(5)(B).

    79. Plaintiff is entitled to an award of up to $1,500 in damages for each such knowing or

           willful violation. 47 U.S.C.     §   227(c)(5).




'See      id.   at 425 (codifying a June 26, 2003 FCC order).
2
 See      id.   at 425 (codifying a June 26, 2003 FCC order).
 See      id.   at 425 (codifying a June 26, 2003 FCC order
                                                             14
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                            THIRD CAUSE OF ACTION
             Violations of The Texas Business and Commerce Code 305.053

80. Plaintiff incorporates the foregoing allegations as   if set forth herein.

81. The foregoing acts and omissions of Defendants andlor their affiliates or agents constitute

   multiple violations of the Texas Business and Commerce Code 305.053, by making

   non-emergency telemarketing robocalls to Mr. Salaiz cellular telephone number without

   his prior express written consent in violation of 47 Usc 227 et seq. The Defendants

   violated 47 Usc 227(d) and 47 Usc 227(d)(3) and 47 Usc 227(e) by using an ATD5

   that does not comply with the technical and procedural standards under this subsection.

82. Plaintiff is entitled to an award   of at least $500 in damages for each such violation.

    Texas Business and Commerce Code 305.053(b)

83. Plaintiff is entitled to an award of up to $1,500 in damages for each such knowing or

    willful violation. Texas Business and Commerce Code 305.053(c)

                                 FOURTH CAUSE OF ACTION

             (Violations of The Texas Business and Commerce Code 302.101)

84. Plaintiff incorporates the foregoing allegations as    if set forth herein, by reference each

    and every allegation set forth in the preceding paragraphs.

85. The foregoing acts and omissions      of Defendants andlor their affiliates or agents

    constitute multiple violations of the Texas Business and Commerce Code 302.101, by

    making non-registered solicitation calls to Plaintiff's cellular telephone number without

    his prior express written consent.

86. Plaintiff is entitled to an award   of up to $5,000 in damages for each such knowing or

    willful violation. Texas Business and Commerce Code 302.302.



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                                          PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Erik Salaiz prays for judgment against the defendants jointly

and severally as follows:

       A.       Leave to amend this Complaint to name additional DOESs as they are identified

and to conform to the evidence presented at trial;

       B.       A declaration that actions complained of herein by Defendants violate the TCPA

and Texas state law;

        C.      An injunction enjoining Defendants and their affiliates and agents from engaging

in the unlawful conduct set forth herein;

        D.       An award of $3000 per call in statutory damages arising from the TCPA
                                                                                    for four calls.
intentional violations jointly and severally against the corporation and individual

        E.       An award of $1,500 in statutory damages arising from violations of the Texas

Business and Commerce code 305.053

        F.       An award of $5,000 in statutory damages arising from violations of the Texas

Business and Commerce code 302.101.

        G.       An award to Mr. Salaiz of damages, as allowed by law under the TCPA;

        H.       An award to Mr. Salaiz of interest, costs and attorneys' fees, as allowed by law

 and equity

        I.       Such further relief as the Court deems necessary, just, and proper.

                                         JURY DEMAND

 Plaintiff requests a trial by jury of all claims that can be so tried.



 January 18, 2022                         Respectfully Submitted,
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